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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                            December 27, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                  CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                  CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA, and §
OSAMA ABDULLATIF,                   §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                  ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP, and     §
JETALL/CROIX GP, LLC,               §
                                    §
        Defendants.                 §

                                      ORDER
                           SETTING ELECTRONIC HEARING


1. On Wednesday, January 22, 2025, at 10:00 a.m. (Central Standard Time) the Court
   will conduct an electronic evidentiary hearing on Ali Choudhri’s motion to recuse before the
   United States Bankruptcy Court, Houston Division. For persons wishing to appear in
   person, the hearing will be conducted from the United States Courthouse, 1701 W. Business
   Hwy 83, 10th Floor Courtroom, McAllen, TX 78501.

2. Pursuant to Bankruptcy General Order 2021-05 and Bankruptcy Local Rule 9017-1, parties
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   may either appear electronically or in person unless otherwise ordered by this Court.

3. To participate electronically, parties must follow the instructions set forth on Judge
   Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
   bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
   utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510, conference
   room number 999276 and (ii) log on to GoToMeeting for video appearances and witness
   testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE TWO
   SEPARATE DEVICES to appear by video and telephonically. One device will be used to
   log on to GoToMeeting and the other will be used to call the telephonic conference line.

4. Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court
   Procedures Section VII(b) regarding the exchange and submission of electronic exhibits.

5. No later than Monday, December 30, 2024, Ali Choudhri must serve a copy of this Order on
   all parties entitled to notice of the hearing and file a certificate of service with the Clerk of
   Court.

        SIGNED December 27, 2024


                                                        ________________________________
                                                                Eduardo V. Rodriguez
                                                         Chief United States Bankruptcy Judge
